Case 1:20-cv-00889-MAD-TWD Document 21-4 Filed 11/20/20 Page 1 of 9




                   Exhibit D
FILED: NEW YORK COUNTY CLERK 08/19/2019 02:24 PM                                                                                                                            INDEX NO. 158019/2019
              Case
NYSCEF DOC. NO. 53 1:20-cv-00889-MAD-TWD Document 21-4 Filed 11/20/20  Page 2NYSCEF:
                                                                    RECEIVED  of 9   08/19/2019




                                  5upreme                            (Eourt                 at        t11e           9tate               at       Nem               garlt


                       Appellate                           Binision:                          First                          ilubicial                  Bepartment
                                                Informatinual          States:nt            (Pursuant            to 22 NYCRR             1250.3           - Civil
                                                                                                                                                  [a])




    Case Title:         Set forth the tit)e of the case as it appears on the summon s. no t ice of petition                               or order t o            For Court      of Originali=*æce
    .shou cause b3 n hich the matter nas or ts to be comtnenced.             or as amended.



    Naticñale            Rifle     Associat!óñ             of America



                                                                                                                                                                       Date NoticeofAppeal     Filed
                                  -against-


    Letitia       James,          in   her      capacity        as   Attorney          General                                                                         For Appe!!a          ivision




              Civil    Action                                    M     CPLR       article   78 Proceeding             E   Appeal                                       O    Transferred    Proceeding
    O         CPLR      article   75 Arbitraticñ                 O      Special     Preeceding        Other           O      Original     Proceedings                       O CPLR Article 78
                                                                                                                                                                                 Executive Law § 298
                                                                 O     Habeas Corpus             Proceeding
                                                                                                                          O CPLR Article 78
                                                                                                                          O Eminent Doman                              O    CPLR     5704 Review
                                                                                                                          O Labor Law 220 or 220-b
                                                                                                                                Public Omcers Law §36

                                                                                                                                RealProperty Tax Law§ 1278




    O    Administrative                Review              E    Business        Relatienships                |   O   Commercial                   |   O   Contracts

    O    Declaratory              Judgment                 O    Domestic          Relations                      O   Election      Law                O   Estate       Matters

    O    Family          Court                             O    Mortgage          Foreciesüre                    O   Miscellaneous                    O   Prisoner          Discipline     &   Parole

    O    Real         Property                             O    Statutory                                        O   Taxation                         O   Torts
    (other       than     foreclosure)




   Informational         Statement-          Civil
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    Paper     Appealed           From       (Check        one     only):                                                    If an appeal          has been          taken       from     more       than       one     order       or
                                                                                                                            judgment          by the       filing    of this     notice       of appeal,           please
                                                                                                                            indicate       the     below        information            for each       such        order     or
                                                                                                                            judgment          appealed          from      on a separate              sheet        of paper.
    O    Amêñded             Decree                                         O      Determination                               O    Order                                       O   Resettled             Order
    O    Amended            Judgement                                      O       Finding                                     O    Order        & Judgment                     O   Ruling
    O    Amêñded            Order                                          O       interlocutory        Decree                 O    Partial       Decree                        O   Other         (specify):
    E     Decision                                                         O       Interlocutory        Judgment               O    Resettled         Decree
    O     Decree                                                           O    Judgment                                       O    Resettled         Judgment

   Court:                                 Supreme              Court                                                         | County:                       New         York
    Dated:                              CâiiGi20i9                                                                           | Entered:          8/19/19
   Judge      (name         in full):     Melissa Crane                                                                        Index      No.:15õGiai2üis

   Stage:             O   Interlocutory            E     Final      O      Post-Final                                          Trial:       O      Yes      E       No      If Yes:       O       Jury       O       Non-Jury
                                                                           Prior     Unperfected          Appeal       and Related            Case information


   Are any appeals               arising      in the same           action         or pmcêéding           currently         peñding        in the court?                                      O      Yes       O      No
   If Yes, please            set forth      the Appe!!ate              Division          Case Number           assigned        to each      such appeal,


   Where       appropriate,              indicate       whether         there         is any related       action      or proceeding              now      in any court           of this     or any other
   jurisdiction,           and   if so, the        status      of the case:




   Co......       .   ed by:        O      Order       to Show         Cause         O     Notice      of Petition         O    Writ     of Habeas          Corpus              Date     Filed:
   Statute        authorizing           commer-cemêñt                  of proceeding               in the Appellate          Division:




   Court:                                Choose             Court                                           _|      County:                                 Choose              Countv
   Judge      (name         in full):                                                                             | Order      of Transfer          Date:



   court:                                Choose             Court                                                   County:                                 Choose              County
   Judge      (name         in full):                                                                               Dated:



   Description:             If an appeal,          briefly       describe       the      paper      appealed       from.       If the    appeal       is from        an order,         specify       the    relief
   requested              and whether         the      motion       was granted              or denied.          If an original         prüceeding          commêñced               in this       court     or transferred
   pursuant           to CPLR 7804(g),               briefly     describe          the    object     of proceeding.            If an application             under       CPLR 5704,           briefly       describe         the
   nature     of the         ex parte       order      to be reviewed.

   The      NRA  sppeals   the ruling by the Supreme                                  Court denying     the NRA's petition   for an order pursuant     to CPLR 2304 and CPLR
   3103   fixing conditions,     modifying,    or issuing                            a protective   order with respect   to a subpoena    ad testificandum    issued by Letitia
   James,     the Attomey     Generral     of New York,                             to Lt. Col. Oliver North, schedüIêd      for August  20, 2019, in order to protect  the
   NRA's privileged      information     from disclosure.

   Infe-aM!one!            Statement       - Civil
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    issues:           Specify      the     issues          proposed          to be raised              on the      appeal,         pracêeding,                   or application             for CPLR 5704                review,           the    grounds
    for reversal,               or modification                 to be advanced                  and the        specific      relief           sought        on appeal.

   The       NRA            seeks          an      order         fixing          cõñditicñs              or    modifying                the      subpoena                 to      its    fiduciary            and        a current                Board
    Member                North       or        a protective                order,         to    permit           NRA       counsel               to        be     present              during        examination                     of     North
   and       to       lodge        concise            objections                  aimed          at preserving                 privileges                   beloñÿing               to the           NRA,         its    counsel                 and       its
   Board              counsel,           including               communications                          protected            by        the      attomey-client                         privilege,          the         work          product
   doctrine,              and       as     trial     preparation                   material.             The       NRA        in no            way          wishes           to    interfere           with       the       NYAG's
   investigatieñ                   but     has       the        right       to    object         to     disclosure            of        its    privileged              infromation.                   The       NRA            will     be       seeking
   interim             relief     pursuant                 to   CPLR             5519       and         CPLR         3103          to     stay         or     suspeñd              discovery                pending              the       appeal                so
   that      the        NRA's         substantial                  rights          are     not        violated.




    Instructions:                Fill in the        name         of each          party     to the        action     or preceeding,                     one        name        per line.         If this      form        is to be filed                for      an
    appeal,           indicate      the     status         of the       party      in the court            of original        instance            and        his, her,       or its status            in this      court,        if any.         If this
    form      is to be filed              for      a praceeding              commêñced                  in this    court,       fill     in only        the        party's        name        and      his, her,         or its status                 in this
    court.


     No.          |                                              Party       Name                                                                      Original         Status                             Appellate            Division          Status
       1          |National Rifle Associet!ce of America                                                                                  Petitioner                                                 IAppellant
       2              Letitia James, in her capacity as New York Attorney General                                                        Respañdañt                                                  |Respcadeñt
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    Informational           Statement-             Civil
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          notice     of petition       or order      to show      cause      by which    a special     proceeding       is to be commêñced         in the Appellate      Division,
         only      the   name      of the       attomêy    for the petitioner need be provided.     In the event                    that   a litigant    represents     herself      or
                                                          Se"
          himself,       the box marked            "Pro       must be checked   and the appropriate     information                    for that    litigant   must    be supplied
          in the     spaces       provided.


         Attorney/Firm             Name:        William A. Brewer ill/Biswêr       Attomeys & Counse!ers
         Address:        750 Lexington Avenue, Floor 14
         City: New York                                State:           NY                             Zip: 10022                 Telephase        No: 212-224-8810
                                       __
        | E-mail     Address:       websbre=mitemeys.com

         Attorney         Type:                     E     Retained          O     Assigned      O      Government            O   Pro Se        O   Pro Hac Vice

         Party     or Parties       Represented           (set forth      party    number(s)    from     table     above):

        Attorney/Firm             Name:         Svetlana Eisenberg/Brewer         Attomeys & Counse!ers
         Address:        750 Lexington Avenue, Roor 14
         City: Ñew York                                       State:    NY                           | Zip:10022                  Tê|êphüsia       No:212-224-8817
          E-mail     Address:sme@brewerattomeys                   com

         Attorney         Type:                           Retained          O     Assigned      O      GGvemment             O   Pro Se        O   Pro Hac Vice

         Party     or Parties       Represented           (set forth    party      number(s)    from     table     above):

         Attorney/Firm             Name:        Emily Stem/Letitia James in her Capacity As New York Attomey General
         Address:        28 Liberty Street
         City: New York
                                    Emily. Stem@ag.ny,gov
                                                              State:    NY                             Zip: 10005                 Telephone        No: 212-416-6241               _
          E-mail     Address:

         Attomey         Type:                      O     Retained          O     Assigned      O      Government            O   Pro Se        O   Pro Hac Vice

         Party     or Parties       Represented           (set forth    party      number(s)    from     table   above):

         Attorney/Firm             Name:        Monica Connell/Letitia James in her Capacity As New York Attomey General
         Address:        28 Liberty Street
         City: New York                                       State:    NY                             Zip:10005                                   No: 212-416-8965
                                                                                                                                 | Telephone
        | E-mail     Address:monica             conne!!geny.gov

         Attorneylpe:                               O     Retained          O     Assigned      O      Government            O   Pro Se        O   Pro Hac Vice

         Party     or Parties       Represented           (set forth    party      number(s)    from     table   above):

         Attomey/Firm              Name:
         Address:
         City:                                               | State:                                  Zip:                       Telephone        No:
          E-mail     Address:

         Attorney        Type:                      O     Retained          O     Assigned      O      Government            O   Pro Se        O   Pro Hac Vice

        |Party     or Parties       Represented           (set forth    party     number(s)     from     table   above):

        Attorney/Firm             Name:
         Address:
         City:                                                State:                                   Zip:                       Telephone        No:
         E-mail      Address:

         Attümêy         Type:                      O     Retained          O     Assigned      O      Government            O   Pro Se        O   Pro Hac Vice

         Party     or Parties       Represented           (set forth    party     number(s)     from     table   above):


   Informational     Statement        - Civil
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                       SUPREME                     COURT                      OF THE                STATE                  OF NEW YORK                               -       NEW YORK                          COUNTY


              PRESENT:                               MELISSA                        A.      CRANE                                                                                                          PART              J5
                                                                                                                Justice



              NATIONAL                     RIFLE             ASSOCIATION                              OF AMERICA,


                                                                                    Petitioner,
                                                                                                                                                         INDEX               NO.                           158019/2019
                                                                                                                                                         MOTION                 DATE
                                                               - v -                                                                                     MOTION                 SEQ.        NO.            001
                                                                                                                                                         MOTION                 CAL.         NO.
              LETITIA              JAMES,               IN     HER             OFFICAL                    CAPACITY
              AS THE             ATTORNEY                          GENERAL                        OF THE                STATE
              OF     NEW           YORK,


                                                                                    Respondent.




               The      fõliõwing            papers,           numbered                     _ to _ were                read       on     this     =ctica            to/for                                                     .


                                                                                                                                                                                             PAPERS             NUMBERED
               Notice       of Metier                Order              to Show             Cause          -        Affidavits           -      Exhibits            ...

               Answering                Affidavits            -         Exhibits

               Replying            Affidavits

     o
               CROSS-MOTION:                                            YES                  NO


                                After       oral      argument,                    and      for     the        reasons           stated         on     the    record            of     8-19-2019,               the     court



               denies       the         application                of    the       NRA            to sit       in on the             investigatory                  deposition               of    Mr.     North



               As     explained             on     the       record,               the     balance             of    the      equities          does         not     favor           the   NRA.            The        Attorney


               General           has      reiterated               time        and         again      that          they       are     not      seeking            privileged               information                and         just
c.

               now      represented                that       If        Mr.        North        starts         to reveal             privileged              information,                  they      are       going         to "cut
:c
                        off."
               him                      Moreover,              Mr.            North         has      his       own         counsel           who        can        protect           the    privilege,            and        is likely



         Ë     to protect           the     privilege               given            that    otherwise                  Mr.      North          could         be vulnerable                      to a claim            for    breach


         ro    of    fiduciary            duty.


                                On the        other          side,           the     equities         favor            the     AG.           Having           the     NRA            or    its    Board         sit    in on         an



              investigatory                deposition                   by    law        enforcement                    could         have       the     serious             consequence                  of



              compromising                   the      integrity               of     that     investigation,                     particularly                given        the        seemingly             acrimonious
FILED: NEW YORK COUNTY CLERK 08/19/2019 02:24 PM                                                                                                                                                  INDEX NO. 158019/2019
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         relationship                 between           Mr.      North           and      the     NRA           Board.          For     the       purposes           of this       investigation,                 the



         NRA         and        its    Board         are      one      and      the     same.           Their      interests            are        united.


                          In    reaching             this     conclusion,               the     court      notes          that    Mr.         North          and     his     counsel          appear        to be



         operating              in good         faith        as they          gave       notice          to the        NRA        of the           subpcena;               and    filed      at least       some



         documents                in redacted                form       in a case             in the      Commercial                   Division.                  Although          some            documents


         were        filed       in non-redacted                      form,      the      court         notes      that      it has         been      at least        a month              and      there    has


         been        no      motion        to seal           from       the      NRA.           Similarly,             there          was     no     effort        made          to have          the    court


         review           in   camera           the     document                that      is completely                  redacted             and     attached             as an exhibit                to the


         NRA's            papers.        Consequently,                     the     court         is unable             to assess            the     depth,         if any,       to which            the


         privilege             would         have       been          compromised.



                          It would            also     likely         compromise                  the     investigation                 were         the      transcript          to be handed               over       to


         the     NRA           during         the     investigation.                  I am not           sure     of      the    harm         once         the     investigation              is over,           but


         that     issue        is not      ripe       yet.      The      court         will     retain       jurisdiction,                  should         that     issue        ever      arise.




                          Accordingly,                 it is


                          ORDERED                     that      the     court         denies       the     application                and         dismisses          the     petition.




         DATED:                                                                 , 2019
                                                                                                                                        ELISSA                A.    CRANE,                J.S.C




         Check       one:             fINAL          DISPOSITION                              ONON-FINAL                   DISPOSITION
        Check        if a        ropriate:           MOTION  IS: O GRANTED    ODENIED   O GRANTED IN PART O OTHER
        Check        if apprGpriate:                 O DO  NOT  POST    REFERENCE     O SETTLE ORDER O SUBMIT ORDER
                FIDUCIARY                APPOINTMENT
          Case 1:20-cv-00889-MAD-TWD Document 21-4 Filed 11/20/20 Page 8 of 9


                       SUMMARY STATEMENT ON APPLICATION FOR
                       EXPEDITED SERVICE AND/OR INTERIM RELIEF
                                                (submitted by moving         party)

                                                                                                 Date: 8/19/19

Title      National Rifle Assocation_______________________________________ Index/Indict/Docket# 158019/2019
of
Matter     Letitia James, in her capacity as New York Attorney General

                               Order    [/]               Supreme    0            County   New York_____
Appeal                         Judgment □ of              Surrogate’s!   I
by   NRA                  from Decree      □              Family     □            Court entered on 8/"I 9______,20 1 9


Name of                                                                           Notice of Appeal
judge Melissa Crane                                                               filed on 8/19______________ ,20   2019

If from    administrative determination, state agency__________________________________________________________

Nature of   Action to modify a subpoena (CPLR 2304) or issue a protective order (3103)
action
or proceeding *0 allow NRA counsel to object at oral testimony to protect privileges.
                      ✓   order
Provisions of             judgment      appealed from_________________________________________________________
                          decree




                                appellant
This application by             respondent     is for a   stay pursuant to CPLR 5519(c) and CPLR

            3103(b) pending determination of the appeal of the denial of Appellant's petition

           for an order modifying the subpoena and/or a protective order to protect privileges.

If applying for a stay, state reason why requested   Oral examination pursuant to NYAG's subpoena

 scheduled for tomorrow August 20, 2019. A stay maintains the status quo without harm

 to Appellant pending determination.

Has any undertaking been posted      No                                           If “yes”, state amount and type




 Has application been made to                                   If “yes”, state
 court below for this relief Yes.                               Disposition Denied.
 Has there been any prior application                           If “yes”, state dates
 here in this court No._________                                and nature       _____




 Has adversary been advised                                Does he/she
 of this application YeS._______________________________ consent_____
          Case 1:20-cv-00889-MAD-TWD Document 21-4 Filed 11/20/20 Page 9 of 9


                        Attorney for Movant                                      Attorney for Opposition


Name Svetlana M. Eisenberg                                                      Emily Stern, Nsw York Attorney General


Address 750 Lexington Ave, Floor 14                                             28 Liberty Street

New York, NY 10022                                                              New York, NY 10005

                                                                                                                    A^V /i
                                                                                                              y                 i
Tel. No. 212-224-8817                                                             A12. -     'ilb-GAtX

Appearing by in person                                                          in person ____________

                                                                                                                  [>'ki£n Wo
  _______ (Qlm ft                                                                               Ijonircj          ConHilj
                                                                                                hJillun           llhm


                                               (Do not write below this line)
DISPOSITION

                          l
                                              (f)en 1^-3 ■




 ALL PAPERS TO BE SERVED PERSONALLY.                                                                5B-
                                                                                       Court Attorney




                                                                                                                     “Revised 06/18"
